           Case 2:24-cv-01455-KKE           Document 18-1        Filed 03/17/25       Page 1 of 2




 1                                                  THE HONORABLE KYMBERLY K. EVANSON
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 6
                                UNITED STATES DISTRICT COURT
 7
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
      LUIGI MARRUSO,
 9                                                        Case No.: 2:24-cv-01455-KKE
             Plaintiff,
10
                                                          DECLARATION IN SUPPORT OF
11                   v.                                   RENEWED REQUEST FOR ENTRY
                                                          OF DEFAULT
12    ROBERT W. MONSTER, an individual,
13
      EPIK INC., a Washington corporation, and            Note to Calendar: 3/17/25
      MASTERBUCKS LLC, a Wyoming
14    limited liability company,
15          Defendants.
16
     ________________________________________________________________

17                         DECLARATION IN SUPPORT OF PLAINTIFF’S
                              REQUEST FOR ENTRY OF DEFAULT
18

19   I, Nicholas Ranallo, declare and state as follows:

20          1.      This declaration is based upon my personal knowledge of the facts stated herein
21
     or on the business records that were made at the time or in the regular course of business. If
22
     called as a witness, I could and would testify to the statements made herein.
23
            2.      On September 22, 2024, Defendant Epik Inc. was served via personal service and
24

25   an Amended Proof of Service was filed at ECF No. 17.

26          3.      Defendant Epik Inc. was required to answer or otherwise defend by Monday,
27
      DECLARATION IN SUPPORT OF                    Revision Legal,          Ranallo Law Office
28
      PLAINTIFF’S REQUEST FOR ENTRY OF             PLLC                     5058 57th Ave. S.
      DEFAULT                                      8051 Moorsbridge         Seattle, WA 98118
      CASE NO. 2:24-CV-01455 - 1                   Rd.                      (831) 607-9229
                                                   Portage, MI 49024
                                                   (269) 281-3908
           Case 2:24-cv-01455-KKE          Document 18-1        Filed 03/17/25     Page 2 of 2




     October 14, 2024.
 1

 2             4.    On September 22, 2024, Defendant Robert W. Monster was served via personal

 3   service and a Proof of Service was filed at ECF No. 7.
 4
               5.    Defendant Robert W. Monster was required to answer or otherwise defend by
 5
     Monday, October 14, 2024.
 6

 7
               6.    On September 23, 2024, Defendant Masterbucks LLC was served via personal

 8   service and a Proof of Service was filed at ECF No. 8.
 9             7.    Defendant Masterbucks LLC was required to answer or otherwise defend by
10
     Monday, October 14, 2024.
11
               8.    All Defendants have failed to answer or otherwise defend.
12

13             9.    Upon information and belief, the Defendants are not active-duty members of the

14   U.S. armed forced.
15
               10.   No Defendant has contacted my office in any manner whatsoever regarding this
16
     matter.
17

18

19   I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct.
21
      Dated: Executed this 17th day of March, 2025 in King County, Washington.
22

23
      /s/ Nicholas Ranallo
24    Nicholas Ranallo (WSBA 51439)
      5058 57th Ave. S.
25    Seattle, WA 98119
26
      nick@ranallolawoffice.com

27
      DECLARATION IN SUPPORT OF                   Revision Legal,          Ranallo Law Office
28
      PLAINTIFF’S REQUEST FOR ENTRY OF            PLLC                     5058 57th Ave. S.
      DEFAULT                                     8051 Moorsbridge         Seattle, WA 98118
      CASE NO. 2:24-CV-01455 - 2                  Rd.                      (831) 607-9229
                                                  Portage, MI 49024
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